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       AO 440 (Rev. 06/12) Summonsin a Civil Action


                                                   UNITED                STATESDISTRICT                                         COURT
                                                                                               for the

                                                                        Eastern     District         of New     York


                                HASAN     TAHIRAJ                                                )


                                                                                                 )
                                                                                                 )

                                    Plaintiff(s)
                                         v.                                                                 Civil      Action    No.    17-cv-00167      (JBW)      (LB)
                                                                                                 )
                   BROOKLYN         KINGS      PLAZA        LLC and

                SCUNGlO         BORST    & ASSOCIATES,                  LLC
                                                                                                 )


                                   Defendant(s)                                                  )


                                                                   SUMMONS              IN A CIVIL              ACTION


       To: (Defendant's name and address)
                                                       OO             S       ZA                  M
                                                   c/o Manatt, Phelps & Phillips,                    LLP
                                                   7 Times Square
                                                   New York, New York 10036

                                                   Scungio    Borst & Associates,                 LLC
                                                   2 Riverside    Drive, Suite 500
                                                   Camden,     New Jersey 08103

                  A lawsuit     has been filed       against     you.


                  Within    2 1 days after     service      of this summons         on you (not counting   the day you received  it)
                                                                                                                                     - or 60 days if you
       are the United      States or a United        States    agency,        or an officer or employee  of the United States described  in Fed. R. Civ.
       P. 12 (a)(2)   or (3) - you must serve               on the plaintiff        an answer            to the attached        complaint      or a motion     under     Rule     12 of
       the Federal    Rules of Civil Procedure.               The answer          or motion          must be served         on the plaintiff      or plaintiff's      attorney,
       whose     name and address       are:
                                                   Mhy             &GW      PRC
                                                   100-09      Metropolitan  Avenue
                                                   Forest      Hills, New York 11375

                                                   Attn:   Barry   Liebman,         Esq. and Nick Gjelaj,                Esq.



                  If you fail   to respond, judgment by default will be entered                               against    you for the relief       demanded         in the complaint
       You     also must   file your answer or motion with the court.




                                                                                                                 CLERK          OF COURT




       Date;
                                                                                                                                  Signatme of Clerk or Deputy Clerk




                                                                                                                                              EXHIBIT B
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                     UNITED             STATES              DISTRICT             COURT
                     BASTERN                  DISTRICT               OF NEW        YORK
                     ______________.---,...-_____..___------X
                                                                                                                                                                                  "
                     HASANTAHIRAJ                            ,
                                                                                                                                                    17-cv-00167  (JBW)                    (LB)
                                                                                                                                                   (PLAINTIFFDEMANDS
                                                                                              Plaintiff        '
                                                                                                                                                   TRIAL            BY JURY              ON ALL
                                                                  -against-                                                                        ISSUES)


                                                                                                                                                   AMENDED                   COMPLAINT
                     BROOKLYN                   KINGS             PLAZA          LLC      and SCUNGIO                             BORST
                     & ASSOCIATES,                         LLC,


                                                                                              Defendants.
                     ...----a___.---..------------------------------------X




                                 Plaintiff,       by his attorneys,               MULLANEY                           &      GJELAJ,            PLLC,       cGnpIsining                 of the


                   Defendants,respectfully                         alleges,      upon         information                  and belief,         as follows:


                                                                                                     PARTIES



                                 1,            Plaintiff          is a resident         of the County                     ofKings,        State     ofNew           York.

                                 2.            Upon          information                and       belief,            the          defendant,        BROOKLYN                      KINGS

                  PLAZA               LLC,      is,     a    foreign          limited         liability             compey             authorized            to     conduct           and/or

                  transact        business         in the State          ofNew           York.

                                 3.            Upon          information            and         belief,             the       defendant,           SCUNGIO                  BORST            &

                  ASSOCIATES,                    LLC,        is, a foreign          limited         liability              company        authorized              to conduct          and/or

                  transact        business        in the State           ofNew           York.

                                                                                              JURISDICTION

                               4.              The      matter       in controversy               exceeds                 the sum       or value        of $75,000,           exclusive

                  ofinterest           and costs.



                               5.              Upon         infennation            and         belief,             that      this     Court       has    divemity            of    citizen


                  jurisdiction          over     this       action     pursuant          to 28 U.S.C.                 § 1332.



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                                                                                                      YENUE

                             6.            Upon        information              and belief,            venue         of this      action      in the Eastern            District      of


                 New       York      was        properly             laid      at    the     time          the      underlying             state     court     action        against


                 defendant          BROOKLYN                   KINGS            PLAZA            LLC         was removed                to this      Court     pü,6üãitt           to 28


                 U.S.C.      §1441       (a).


                             7.            Upon        infoññaticñ              and belief,            venue         of this      action      in the Bastern            District      of


                 New       York     is proper          pursuant             to 28 U.S.C.              §1391         (b)(2),       in that        a substantial       part      of the


                 event     giving    rise       to the claim           occurred            in the Bastem               District       of New         York.



                                                                                                       FACTS

                             8.          Upon           infonnation                 and     belief,          that     on      March          3,    2016,      the    defendant,

                 BROOKLYN                KINGS            PLAZA              LLC,         owned        the        property        located          at Block       8470      Lot     55,

                 and     Block      8470        Lot     114,     in     Brooklyn,             County             of Kings,          City      and     State      of New        York

                 (hereinafter       referred          to as "the            premises").

                             9.          Upon           infemation                  and     belief,          that     on      March          3,    2016,      the    defendant,

                 BROOKLYN                KINGS           PLAZA              LLC,      owned           the structure            erected        on the premises.

                             10.         Upon          iñfanñatica             and belief,            that       on March          3, 2016,         the premises          was also

                 located     at street      address           5100      Kings        Plaza,       Brooklyn            New        York       I1234.

                             11.         Upon          information              and        belief,      that        on March            3, 2016,        the      premises          was

                 known      by the name               Kings     Plaza         Shopping           Center.


                             12.           Upon         infannation                 and      belief,         that     on      March          3,    2016,      the   defendant,

                 BROOKLYN                KINGS           PLAZA              LLC,      managed              the premises.

                            13.          Upon           information                 and     belief,          that     on      March         3,     2016,      the   defendant,

                 BROOKLYN             KINGS              PLAZA              LLC,      maintained                 the premises.




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                               14.           Upon         information            and      belief,        that        on     March        3,    2016,          the      defendant,

                  BROOKLYN                  KINGS          PLAZA          LLC,     controlled              the premises.

                             15.             Upon         information            and      belief,        that        on     March        3,    2016,          the      defendant,

                  BROOKLYN                  KINGS          PLAZA          LLC,     operated             a shopping            center     at the premises.


                             16.             Upon         information            and      belief,        that        on     March        3,    2016,          the      defcadañt,

                  BROOKLYN                  KINGS          PLAZA          LLC,     owned            a shopping             center      at the premises.

                             17.             Upon         iñformation            and      belief,          that      on     March        3,    2016,          the      defendant,

                  BROOKLYN                  KINGS          PLAZA          LLC,     centrailed              the premises.


                             18,             Upon       information         and belief,             that on March              3, 2016,        the premises              included


                  an eñtrañce             to the shopping          mall     known         as Level             Pl    West     Mall      Entrance.

                             19.             Upon       information          and       belief,       that       on March            3, 2016,      the     Level          Pl     West


                  Mall      Entrance          at    the     premises        contained               three                           e+===                               from      the
                                                                                                                    doorway                           leading

                  parking      lot to the shopping                center     at the premises.

                             20.             Upon       information         and belief,             that       on March            3, 2016,     and prior            thereto,     the


                  defendant,         BROOKLYN                    KINGS      PLAZA                LLC,       inspected         the doorway             entrances          at Level

                  P1 West          Mall     Entrance         at the premises.

                             21,             Upon       information         and belief,             that       on March            3, 2016,    and prior             thereto,     the


                  Mandant,           BROOKLYN                    KINGS      PLAZA            LLC,           made         repairs     to the premises.

                             22.             Upon       information         and        belief,      that       on March            3, 2016,     each      of the doorway


                  e±ancee           at Level        P1 West        Mall     Entrance             at the premises              had a door        saddle.


                             23,             Upon         information        and        belief,         that        on    March        3, 2016,         the     left     doorway

                  entrance         at Level        PI     West     Mall     Entrance             leading            to the shopping            mall     had         a icmporary


                  door   saddle.

                             24.             Upon       information          and       belief,       that       on March            3, 2016,      the     center        doorway

                  entrance         at Level        Pl     West     Mall     Entrance             leading            to the shapping           mall      had         a permanent

                  door   saddle.


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                             25.              Upon      iñfoññation             and        belief,          that        on    March       3, 2016,             the        right        doorway

                  entrance         at Level       P1 West          Mall       Entrance              leading             to the shcpping              mall          had         a permanent

                  door     saddle.

                             26,              Upon     information            and         belief,          that     at some            point     prior        to March                 3, 2016,

                  there      was       a permanent          door       saddle        at the         left     doorway                entrance       at Level               Pl       West       Mall

                  Entrance          of the premises.

                             27.              Upon     information            and         belief,          that     at some            point     prior        to March                 3, 2016,

                  the d±nd=t,                 BROOKLYN                 KINGS              PLAZA              LLC,            removed           the pennancñt                   door         saddle

                  at the left doorway                cñtrâñce        at Level         P1 West              Mall         Entrance         of the premises,

                             28,              Upon     information            and         belief,          that     at some            point     prior        to     March             3, 2016,

                  the defend•at,              BROOKLYN                 KINGS              PLAZA             LLC,             caused     the permanent                  door            saddle      at

                  the left    doorway           entrance        at Level        Pl        West       Mall         Entmece             of the premises                to be removed.

                             29.              Upon     infam:Mn=              and         belief,          that     at some            point     prior        to March                 3, 2016,

                  the     defendant,            BROOKLYN                      KINGS                 PLAZA                    LLC,       contracted                 with            defendent,

                  SCUNGIO               BORST         &    ASSOCIATES,                      LLC,           to remove                the pennanent              door         saddle           at the

                  left doorway           entrance         at Level      P1 West             Mall       Entrance                of the premises.

                             30.           Upon        information            and         belief,          that     at some           point      prior        to March                 3, 2016,

                  the defendent,           BROOKLYN                   KINOS               PLAZA             LLC,         hired        defendant,          SCUNGIO                      BORST

                  &     ASSOCIATES,                  LLC,       to     remove              the      permanent                  door      saddle          at    the         left        doorway

                  entrãñce         at Level     Pl    West      Mall      Entrance               of the premises.

                             31.           Upon        information            and         belief,          that     at some           point      prior        to March                 3, 2016,

                  the     defendant,           BROOKLYN                   KINGS              PLAZA                  LLC,            retained       defendant,                  SCUNGIO

                  BORST            &    ASSOCIATES,                    LLC,          to     w..~v                 the        permanent           door         saddle              at   the      left


                  doorway          estisace      at Level       P1 West          Mall            Entrance           of the premises.




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                             32.          Upon       information           and     belief,      that       at some           point     prior    to March         3, 2016,

                  the defendant,          BROOKLYN                 KINGS          PLAZA             LLC,       placed         the     temponry          door     saddle     at

                  the left doorway           entrance        at Level       P1 West          Mall      Entrance           of the premises.

                             33.          Upon       information           and     belief,      that       at some        point        prior    to March         3, 2016,

                  the defend-t,           BROOKLYN                 KINGS          PLAZA             LLC,       caused         the temporary             door    saddle      to

                  be placed         at the left    doorway         entrance        at Level         P1 West           Mall      Entrance        of the premises.

                             34.          Upon       information           and     belief,      that       at some        point        prior    to March         3, 2016,

                  the defendant,          BROOKLYN                KINOS           PLAZA         LLC,          installed        the temporary            door     saddle     at

                  the left doonvay          entrance         at Level      P1 West           Mall      Entrance           of the premises.

                             35.          Upon      information            and     belief,      that       at some        point        prior    to March         3, 2016,

                  the defendent,          BROOKLYN                 KINGS          PLAZA         LLC,          hired       defendant,           SCUNGIO           BORST

                  & ASSOCIATES,                   LLC,      to place       the temporary               door      saddle        at the left       doorway         entrance

                  at    the Level      P1 West       Mall      Entrance          of the premises.

                             36.          Upon      information            and     belief,      that       at some        point        prior    to March         3, 2016,

                  the     defendant,       BROOKLYN                  KINGS           PLAZA             LLC,           retained           defeni-nt,            SCUNGIO

                  BORST        &     ASSOCIATES,                LLC,       to place          the temporary              door         saddle    at the    left    doorway

                  entrance         at the Level      P1 West        Mall        Entrance        of the pemises.

                             37.          Upon       information           and     belief,      that       at some           point     prior    to March         3, 2016,

                  the defendant,         BROOKLYN                 KINGS           PLAZA         LLC,           hired      defendant,           SCUNGIO           BORST

                  & ASSOCIATES,                   LLC,      to place      the     temporary            door     saddle         at the left       doorway         entrance

                  at the Level         P1 West       Mall      Entrance          of the premises.


                             38.          Upon      information            and     belief,      that       at some        point        prior    to March         3, 2016,

                  the defendant,         BROOKLYN                 KINGS           PLAZA         LLC,           hired      defendant,           SCUNGIO           BORST

                  & ASSOCIATES,                   LLC,      to install     the temporary               door      saddle        at the left       doorway         entrance

                  at the Level         P1 West       Mall      Entrance         of the premises.


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                             39.                Upon       information            and     belief,         that     at some             point     prior       to March              3, 2016,

                  the      defendant,             BROOKLYN                      KINGS          PLAZA               LLC,           retained        defendant,                 SCUNGIO

                  BORST            & ASSOCIATES,                       LLC,       to install         the temporary                    door     saddle        at the      left     doorway

                  entrance         at     the Level         Pl    West     Mall        Entrance           of the premises.


                             40.                Upon        information             and        belief,            prior          to     March         3,      2016,             defendant,

                  SCUNGIO                & BORST                 ASSOCATES,                LLC,       placed          the temporary                   door       saddle         at the left


                  doorway          entrance           at   the Level        P1 West          Mall         Entrance          of the premises.

                             41,               Upon         information             and        belief,            prior      to        March          3,      2016,          defendant,

                  SCUNGIO                & BORST                 ASSOCIATBS,                 LLC,          installed         the        temperen/            door       saddle           at the

                  left doorway             entrance         at    the Level        P1 West           Mall         untrance             of the premises.

                             42.               Upon         information             and        belief,            prior      to        March          3,      2016,          defendant,

                  SCUNGIO                & BORST             ASSOCIATES,                   LLC,           fabricated         the temporary                  door       saddle           for the

                  left doorway             entrance         at    the Level        P1 West           Mall         Entrance             of the premisca.

                             43.               Upon        information            and      belief,         that      on     March             3, 2016,           the    edges           of     the

                  permanent             door     saddles         at the center          and right          doorway           cñtrañccs            leading          to the the;;ing

                  mall     at Level        Pl     West       Mall     Entrance           of the premises                  were        flush    with      the adjoining                  floor.

                            44.                Upon        information            and     belief,          that      on     March             3, 2016,           the    edges           of     the


                  temporary             door     saddle       at the     left    doorway            entrance          at Level           P1 West           Mall        Entrance              was

                  not flush        with        the adjoining          floor.

                            45.                Upon        information           and     belief,          that     on March             3, 2016,           the                               door
                                                                                                                                                                   temporary

                  saddle     at the left          doorway           entrance       at Level          Pl     West          Mall        Entrance        was raised.

                            46.                Upon        information           and     belief,          that     on March             3, 2016,           the temporary                     door

                  saddle     at the left            doorway         entrance        at      Level          Pi      West      Mall        Entrance           was        not      level        with

                  the adjoining            floor,




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                                 47.            Upon            information               and     belief,        that     on March              3, 2016,      the        temporary         door


                  saddle         at the left        doorway               entrance             at Level       P1 West           Mall      Entrance          was     mis-leveled.

                                                                                                 THE        CL_A           1


                                 48.            Plaintiff           incorporates                 and      restates        each      of    the      above     paragraphs              as if set


                  forth       fully      herein.

                                                                             3d                                           the                        TAHIRAJ
                                 49.            That        on      the              of        March        2016,                 plaintiff,                              HASAN,             was


                  lawfhily             upon     the said          premises.

                                                                            3d
                                 50.            That        on      the             of     March          2016,         at approximately               6:20p.m.,               the plaintiff,

                  TAHIRAJ                HASAN,                 was       :Wmpting                to     enter      the     premises            at the      Level         PI     West      Mall

                  ontrance.

                                 51,            That        while          attempti-:g             to    enter      the mall            through       the    left        doorway          at the

                  Level          P1 West          Mall      entrance,              the Plaintiff            was caused             to trip       and fall     as of a result              of the

                  raised         and mis-leveled                  temporary               door       saddle      at the left         doorway          entrance           at the Level            P1

                  West        Mall       Entrance           of the premises.

                                 52.            That        the defendents                     created      the condition                of the      temporary            door      saddle       at

                  the left        doorway           entrance              at the         Level       P1 West            Eñtsâñce          of the premises                where       Plaintiff

                  tripped         and fell.

                                  53.           That        the     defendents                 had      actual       notice        of    the     condition          of    the     ecaparary

                  door        saddle       at the        left     doorway            entrance             at the Level             P1 West           Entrance            of the premises

                  where          the Plaintiff           tripped          and fell.

                                  54.           Upon        information                  and     belief,      the condition               of the temporary                door      saddle       at

                  the     left     doorway             entrance             at the         Level         P1      West          Entrance         of    the    premises            where       the

                  Plaintiff           tripped      and      fell,     existed            for     so long       a period           of time        before      the     eceident        that the


                  defed=2,                their      agents,          servants,                employees           and/or         representatives,             by        the    exercise         of

                  due care,            should      have         had       notice         and knowledge                  thereof.


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                                  55.           That        the Plaintiff's           fall     occurred          due to the negligence                     of the defendants                  in

                 the o==archip,                  operation,             management,                 mainteaace,             control           and repair           of the premises,

                 as well          as in the fabrication,                    placement            and installation              of the taparary                    door       saddle.

                                                                                                          DAMAGES

                                  56.           Plaintiff            incorporates             and     restates     each         of     the    above        paragraphs              as if set

                 forth      fully       herein.

                                  57.           That         the      Plaintiff       sustained           severe          and        serious          injuries          as    a result     of


                 tripping          and     falling          as a result           of the temporary               door     saddle             at the left         doorway           entrance

                 at the Level              P1 West             Mall      Entrance         of the premises.

                                  58.           That         the      Plaintiff        has       sustained         great         pain         and       suffering,            shock      and


                 anguish,           and        will     suffer        same        in the future.

                              59.              That         the Plaintiff's           injuries        are permanent.

                              60.              That         the Plaintiff          has incurmd            medical,         inp':d              and related              expenses.

                              61.              Upon          information             and belief,          the Plaintiff              will     incur     hocpital,            medical     and

                 related      expenses                in the future.

                              62.              That         the Plaintiff           has been           disshled         from         ectivities        and       will     so remain       in

                 the futum.


                              WHEREFORE,                              Plaintiff        HASAN              TAHIRAJ                    demands           judgment              against     the

                 Defendants              as follows:

                              -         Past and            future      conscious            pain     and suffering             in the sum of $3,500,000;

                              -         Past                          hospital       and       related                           last        known       to be approximately
                                                 medical,                                                     expenses,

                                        $62,000,            in such       amount         as will       be proven          at the time             of trial;

                              -         Future         medical          expenses:            $ 1,500,000          00, subject               to more      accurate

                                        information              from      an Expert           Life     Care      Planner            and eccacmist;

                              -         Costs         and    such      further       relief      as this Court                       deem      just     and proper.
                                                                                                                        may


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                 Deted:   Forest    Hills   New York
                          May      19, 2017
                                                                    Yours,        etc.




                                                                    t WRRY LIEDMAN       SQ. (BL 4332)
                                                                    MULLANEY    & GJB14,    PLLC
                                                                    Attorneys            fbr Plaintiff
                                                                    HASAN           TAHIRAJ
                                                                        100-09    Metropolitan           Avenue
                                                                    Forest        Hills, New        York    11375

                                                                    (718)        821-8100




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            UNITED            STATES               DISTRICT               COURT
            EASTERN              DISCTRICT                    OF NEW         YORK
            Civil    Action      No:         1:17-ev-00167-JBW-LB_


           HASAN         TAHIRAJ               ,


                                                                                Plaintiff,


                                                     -against-



           BROOKLYN               KINGS              PLAZA            LLC     and     SCUNGIO             BORST
           & ASSOCIATES,                     LLC,


                                                                                Defendant.




                                                           SUMMONS                  & AMENDED                   COMPLAINT



                                                                       MULLANEY              & GJELA J, P.L.L.C.
                                                                             ATTORNEYS             FOR PLAINTIFF
                                                                       100-09       METROPOLITAN                AVENUE
                                                                      FOREST        HILLs,        NEW YORK             11375
                                                                          TELEPHONE:              (718)      821-8100

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                      Date:      May     30,        2017
